 Fill in this information to identify the case:
B 10 (Supplent 2) (12/11)               t publication draft)
 Debtor 1               frederick Wilhelm
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Middle                               PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                 (State)
 Case number
                        17-00068
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


 Name of creditor:                M&T Bank
                                  ______________________________________
                                                                                                             Court claim no. (if known):
                                                                                                             13
                                                                                                             _________________
                                                                                           4 ____
                                                                                           ____ 9 ____
                                                                                                  9 ____
                                                                                                       8
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                 1110 Path Valley
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                   Fort Loudon                    PA       17224
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                 6702.05
                                                                                                                                  $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                  ____/_____/______
                                                                                     MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                        (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                   11 08 2022
                                                                                     ____/_____/______
        due on:                                                                      MM / DD / YYYY


Form 4100R                                                     Response to Notice of Final Cure Payment                                page 1

    Case 1:17-bk-00068-HWV                            Doc 103 Filed 10/28/22 Entered 10/28/22 11:45:34                               Desc
                                                       Main Document    Page 1 of 3
Debtor 1        _______________________________________________________                       Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                   Signature
                                                                                              Date    10   28 2022
                                                                                                      ____/_____/________




 Print             Kiara                                   Hughes
                   _________________________________________________________                  Title
                                                                                                      Bankruptcy Specialist
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            M&T Bank
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           _________________________________________________________
                   Number                 Street


                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      800 _____–
                   (______) 837 _________
                                7694 ext                    8421                                    khughes1@mtb.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2

    Case 1:17-bk-00068-HWV                                Doc 103 Filed 10/28/22 Entered 10/28/22 11:45:34                                   Desc
                                                           Main Document    Page 2 of 3
NAME:             FREDERICK H WILHELM JR
LOAN NO:             44462298114998
DATE FILED:               1/9/17
CASE #:               17-00068-MDF
POC #
                                                                                                   Amount
Date received Amount received Received to date Remaining Balance Applied to             Claim      Claimed     PAID       DUE
                                                      $40,739.89
   5/23/2018          $334.82          $334.82        $40,405.07        pmts             Pmts      31,762.26 25,060.21   6,702.05
   8/21/2018          $894.44        $1,229.26        $39,510.63        pmts              LC          558.83    558.83       0.00
  10/22/2018       $2,324.23         $3,553.49        $37,186.40        Pmts             Title          0.00                 0.00
   1/18/2019          $894.44        $4,447.93        $36,291.96        Pmts             BPO          520.00    520.00       0.00
   2/28/2019          $701.35        $5,149.28        $35,590.61        Pmts           Prop Ins.      112.00    112.00       0.00
   3/29/2019       $1,306.18         $6,455.46        $34,284.43        Pmts           Attorney     7,786.80 7,786.80        0.00
   5/16/2019          $797.89        $7,253.35        $33,486.54        Pmts             Total     40,739.89 34,037.84   6,702.05
                                                                   520 BPOs, 112
                                                                 Insp, 8 LC 968.58
   6/18/2019       $1,608.58         $8,861.93        $31,877.96        Atty
   8/15/2019       $1,420.72        $10,282.65        $30,457.24        Atty
                                                                   1796.91 Attny,
  10/28/2019       $1,833.75        $12,116.40        $28,623.49 36.84 pmnts
                                                                 2009.17 Atty 4.85
  12/31/2019       $2,014.02        $14,130.42        $26,609.47         LC
   3/24/2020       $2,717.99        $16,848.41        $23,891.4845.98 LC 2171.92 Pmt
                                                                 1503.42 Atty
   7/14/2020       $1,920.00        $18,768.41        $21,971.48 416.58
  10/20/2020          $248.73       $19,017.14        $21,722.75 PMTS
   11/6/2020       $1,292.61        $20,309.75        $20,430.14 Pmts
  12/31/2020           803.02       $21,112.77        $19,627.12 pmts
   2/23/2021          1483.65       $22,596.42        $18,143.47 pmts
   5/28/2021          1470.26       $24,066.68        $16,673.21 pmts
   7/20/2021           169.58       $24,236.26        $16,503.63 pmts
   8/31/2021          1096.24       $25,332.50        $15,407.39 pmts



   9/21/2021           843.37       $26,175.87        $14,564.02   pmts
  10/29/2021           590.51       $26,766.38        $13,973.51   pmts
  11/23/2021           807.07       $27,573.45        $13,166.44   pmts
  12/22/2021           561.46       $28,134.91        $12,604.98   pmts
   1/28/2022           807.06       $28,941.97        $11,797.92   pmts
   2/24/2022           561.47       $29,503.44        $11,236.45   pmts
   3/25/2022            982.4       $30,485.84        $10,254.05   pmts
   4/22/2022          1227.99       $31,713.83         $9,026.06   pmts
   5/24/2022            982.4       $32,696.23         $8,043.66   pmts
   7/22/2022          1227.99       $33,924.22         $6,815.67   pmts
  10/18/2022           113.62       $34,037.84         $6,702.05   pmts
                                    $34,037.84         $6,702.05




   Case 1:17-bk-00068-HWV                    Doc 103 Filed 10/28/22 Entered 10/28/22 11:45:34                            Desc
                                              Main Document    Page 3 of 3
